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                                UNITED STATES BANKRUPTCY COURT

                    NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                                    Case No. 21-55737-PWB

 JAMES EARNEST NEWMAN, SR. AKA JIM                         Chapter 7
 NEWMAN AKA JAMES E NEWMAN and
 MARY HAASE NEWMAN AKA MARY H
 NEWMAN AKA MARY NEWMAN,

                  Debtor.


                                    REQUEST FOR SPECIAL NOTICE


TO:      UNITED STATES BANKRUPTCY JUDGE, THE DEBTOR(S), AND ALL INTERESTED
         PARTIES


         PLEASE TAKE NOTICE that ALDRIDGE PITE, LLP submits this Request for Special Notice and

Service of Copies, for JPMorgan Chase Bank, National Association and hereby requests special notice of all

events relevant to the above-referenced bankruptcy and copies of all pleadings or documents filed in relation

to the above-referenced bankruptcy, including all pleadings or notices under Federal Rules of Bankruptcy

Procedure, Rule 2002, the commencement of any adversary proceedings, the filing of any requests for

hearing, objections, and/or notices of motion, or any other auxiliary filings, as well as notice of all matters

which must be noticed to creditors, creditors committees and parties-in-interest and other notices as required

by the United States Bankruptcy Code and Rules and/or Local Rules of the above-referenced bankruptcy

court.

         ALDRIDGE PITE, LLP submits this Request for Notice and Service of Copies as attorneys for

JPMorgan Chase Bank, National Association.

         ALDRIDGE PITE, LLP, requests that for all notice purposes and for inclusion in the Master Mailing

List in this case, the following address be used:

                                             Josephine E. Salmon
                                              Aldridge Pite, LLP
                                           Fifteen Piedmont Center
                                     3575 Piedmont Road, N.E., Suite 500
                                              Atlanta, GA 30305
Case 21-55737-pwb            Doc 8     Filed 08/13/21 Entered 08/13/21 12:20:21                 Desc Main
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           Neither this Request for Special Notice nor any subsequent appearance, pleading, claim, proof of

claim, documents, suit, motion nor any other writing or conduct, shall constitute a waiver of the within

party's:

           a.     Right to have any and all final orders in any and all non-core matters entered only after de

novo review by a United States District Court Judge;

           b.     Right to receive service pursuant to Fed. R. Civ. P. 4 made applicable to the instant

proceeding by Fed. R. Bankr. P. 7004. This Request for Special Notice shall not operate as a confession

and/or concession of jurisdiction. Moreover, the within party does not authorize ALDRIDGE PITE, LLP,

either expressly or impliedly through ALDRIDGE PITE, LLP’s participation in the instant proceeding, to act

as its agent for purposes of service under Fed. R. Bankr. P. 7004;

           c.     Right to trial by jury in any proceeding as to any and all matters so triable herein, whether or

not the same be designated legal or private rights, or in any case, controversy or proceeding related hereto,

notwithstanding the designation or not of such matters as "core proceedings" pursuant to 28 U.S.C. §

157(b)(2)(H), and whether such jury trial right is pursuant to statute or the United States Constitution;

           d.     Right to have the reference of this matter withdrawn by the United States District Court in

any matter or proceeding subject to mandatory or discretionary withdrawal; and

           e.     Other rights, claims, actions, defenses, setoffs, recoupments or other matters to which this

party is entitled under any agreements at law or in equity or under the United States Constitution.

Dated: August 13, 2021                                     ALDRIDGE PITE, LLP


                                                           /s/Josephine E. Salmon
                                                           Josephine E. Salmon (SBN 945934)
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